    Case 3:21-cv-01378-N Document 8 Filed 07/27/21          Page 1 of 7 PageID 504


Jason M. Rudd
Texas State Bar No. 24028786
Lauren K. Drawhorn
Texas State Bar No. 24074528
WICK PHILLIPS GOULD & MARTIN, LLP
3131 McKinney Avenue, Suite 500
Dallas, Texas 75204
Telephone: (214) 692-6200
Telecopier: (214) 692-6255

Deborah Deitsch-Perez
Texas State Bar No. 24036072
Michael P. Aigen
Texas State Bar No. 24012196
STINSON LLP
3102 Oak Lawn Avenue, Suite 777
Dallas, Texas 75219
Telephone: (214) 560-2201
Telecopier: (214) 560-2203

ATTORNEYS FOR DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.

                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

In re:                             §
                                   §                   Case No. 19-34054
HIGHLAND CAPITAL MANAGEMENT, L.P., §                   (Chapter 11)
                                   §
     Debtor-Plaintiff.             §                   Adversary No. 21-03006-sgj
v.                                 §
                                   §
HIGHLAND CAPITAL MANAGEMENT        §
SERVICES, INC.,                    §
                                   §
     Defendant.                    §
                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
     Plaintiff.                    §                   Civil Case No. 3:21-cv-01378-N
v.                                 §
                                   §
HIGHLAND CAPITAL MANAGEMENT        §
SERVICES, INC.,                    §
                                   §
     Defendant.                    §

         HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.'S MOTION TO
         RECONSIDER ORDER ON MOTION TO WITHDRAW THE REFERENCE


CORE/3522697.0002/168428401
    Case 3:21-cv-01378-N Document 8 Filed 07/27/21                       Page 2 of 7 PageID 505



         Defendant Highland Capital Management Services, Inc. ("HCMS") submits its Motion to

Reconsider this Court's Order on Motion to Withdraw the Reference [Dkt. No. 5] ("Motion") and in

support of this Motion, states the following:

                              I.      GROUNDS FOR THE MOTION

         1.       On October 16, 2019, Debtor filed bankruptcy in Delaware. On January 22, 2021,

Debtor commenced Adversary Proceeding No. 21-03006-sgj against HCMS, asserting a state law,

non-core breach of contract claim ("Count I") and an entirely dependent turnover claim under 11

U.S.C. § 542(b) for the amounts allegedly owed on the Notes ("Count II"). HCMS denied consent

to the Bankruptcy Court entering a final order or judgment, and demanded a jury trial in the District

Court. [Highland Capital Management, L.P. v. Highland Capital Management Services, Inc., Adv.

Pro. No. 21-03006, Dkt. No. 6, ¶¶ 3-5, 57, 58; Dkt. No. 15, ¶¶ 3-5, 58-59].1

         2.       On June 3, 2021, HCMS filed its Brief in Support of its Motion to Withdraw the

Reference [Highland Capital Management, L.P. v. Highland Capital Management Services, Inc.,

Adv. Pro. No. 21-03006, Dkt. No. 20] asserting that the District Court should hear and determine

the matter, including all pretrial proceedings because there is good cause for permissive

withdrawal.

         3.       On July 14, 2021, the Bankruptcy Court issued its Report and Recommendation,

recommending that all pre-trial matters remain in the Bankruptcy Court, including the resolution

(by recommendation and report) of any dispositive motions, with withdrawal of the reference to

occur only if and when the adversary case were certified trial-ready.                  [Highland Capital




1
 On April 23, 2020, HCMS filed Proofs of Claim No. 175 and 176. The HCMS Proofs of Claim have been resolved
since October 20, 2020, when the Bankruptcy Court disallowed the HCMS Proofs of Claim in their entirety, and
HCMS no longer holds a claims against the Debtor's bankruptcy estate. October 20, 2020 Order on First Omnibus
Objection.

                                                     1
CORE/3522697.0002/168428401
    Case 3:21-cv-01378-N Document 8 Filed 07/27/21                  Page 3 of 7 PageID 506



Management, L.P. v. Highland Capital Management Services, Inc., Adv. Pro. No. 21-03006, Dkt.

No. 47.]

         4.       HCMS was preparing to file its objection to the Report and Recommendation which

was due to be filed on July 28, 2021.

         5.       On July 26, 2021, before HCMS was able to file its objection, this Court issued its

Order on Motion to Withdraw the Reference, adopting the recommendation of United States

Bankruptcy Judge Stacey G.C. Jernigan and referring all pretrial matters to the Bankruptcy Court.

         6.       For the reasons set forth in the Limited Objection of HCMS to Report and

Recommendation to District Court on the Motion to Withdraw the Reference ("Objection"), filed

contemporaneously with this Motion as Dkt. No. 6, HCMS asks that this Court reconsider its Order

on Motion to Withdraw the Reference.

         7.       The Bankruptcy Court lacks jurisdiction to rule on a dispositive motion such as a

motion to dismiss or a motion for summary judgment. Thus, any ruling by the Bankruptcy Court

on any such motion will result only in proposed findings and conclusions, reviewable de novo in

this Court. See 28 U.S.C. § 157(c)(1).

         8.       Withdrawing the reference now promotes judicial economy, as it will enable the

District Court to have the familiarity necessary to make key trial determinations on the more

complex evidentiary and expert issues that arise in a jury trial. Moreover, because Debtor has

indicated an intent to file a motion for summary judgment and the Bankruptcy Court can only

recommend a resolution and the District Court will be required to decide such a motion de novo in

any event, it will be more efficient for the District Court to preside over this case as soon as

possible.




                                                   2
CORE/3522697.0002/168428401
    Case 3:21-cv-01378-N Document 8 Filed 07/27/21                 Page 4 of 7 PageID 507



         9.       Additionally, as more fully set forth in the Objection, withdrawing the reference

immediately will also ameliorate any appearance of impropriety arising out of the Bankruptcy

Court making pre-trial rulings, including a dispositive motion concerning millions of dollars in

disputed obligations involving a party who is appealing that same Bankruptcy Court's denial of a

recusal motion. HCMS is reasonably concerned that the Bankruptcy Court will conclude a priori

that its defenses are not credible and will act on pretrial matters with that bias or pre-existing

conclusion. HCMS does not propose to try the recusal matter through this Objection. However,

all of these legitimate concerns about potential bias are best resolved by this Court simply doing

what Congress intended: withdrawing the reference immediately and in toto.

         10.      Also, as more fully set forth in the Objection, HCMS amended its answer so that

withdrawal of the reference is mandatory because a non-Bankruptcy Code federal law at issue

(here, federal tax law) has more than a de minimis effect on interstate commerce. HCMS is not

questioning the competency of the Bankruptcy Court to handle routine tax matters. On these

claims, however, the fact-finder will ultimately need to hear fact and expert testimony about how

loans are used as a deferred compensation device and how those devices are structured. Such

analysis requires the Court to determine the particulars and nuances of the Notes, the circumstances

and testimony regarding the creation of the Notes, testimony on the conditions subsequent and

financial benchmarks resulting in the Notes becoming compensation, whether those conditions

subsequent were met, how the funds from the Notes were ultimately treated, and by whom. Rather

than duplicate the effort of determining these issues, the parties and judicial economy are better

served by immediate withdrawal of the reference.

         11.      The parties and judicial economy are better served by immediate withdrawal of the

reference.



                                                  3
CORE/3522697.0002/168428401
    Case 3:21-cv-01378-N Document 8 Filed 07/27/21                 Page 5 of 7 PageID 508



                                 II.     REQUEST FOR RELIEF

         WHEREFORE, for the reasons above, HCMS respectfully requests that the District Court

take judicial notice of its Limited Objection to District Court on the Motion to Withdraw the

Reference filed contemporaneously with this Motion, and enter an order: (1) rejecting in part the

Bankruptcy Court's Report and Recommendation by immediately withdrawing the reference of

the entirety of the case; (2) staying the matter pending determination; and (3) granting such further

relief as equity and justice requires.

Dated: July 27, 2021.                         Respectfully submitted,

                                              /s/Deborah Deitsch-Perez
                                              Deborah Deitsch-Perez
                                              Texas State Bar No. 24036072
                                              Michael P. Aigen
                                              Texas State Bar No. 24012196
                                              STINSON LLP
                                              3102 Oak Lawn Avenue, Suite 777
                                              Dallas, Texas 75219
                                              Telephone: (214) 560-2201
                                              Telecopier: (214) 560-2203
                                              Email: deborah.deitschperez@stinson.com
                                              Email: michael.aigen@stinson.com

                                               - and -




                                                 4
CORE/3522697.0002/168428401
    Case 3:21-cv-01378-N Document 8 Filed 07/27/21    Page 6 of 7 PageID 509



                                    Jason M. Rudd
                                    Texas State Bar No. 24028786
                                    Lauren K. Drawhorn
                                    Texas State Bar No. 24074528
                                    WICK PHILLIPS GOULD & MARTIN, LLP
                                    3131 McKinney Avenue, Suite 500
                                    Dallas, Texas 75204
                                    Telephone: (214) 692-6200
                                    Telecopier: (214) 692-6255
                                    Email: jason.rudd@wickphillips.com
                                    Email: lauren.drawhorn@wickphillips.com

                                    ATTORNEYS FOR DEFENDANT
                                    HIGHLAND CAPITAL MANAGEMENT SERVICES,
                                    INC.




                                      5
CORE/3522697.0002/168428401
    Case 3:21-cv-01378-N Document 8 Filed 07/27/21               Page 7 of 7 PageID 510



                                CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on July 27, 2021, a true and correct copy of this
document was served via the Court's CM/ECF system on counsel for Debtor.


                                                    /s/Michael P. Aigen
                                                    Michael P. Aigen




                                                6
CORE/3522697.0002/168428401
